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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 PFIZER INC., WYETH LLC,                          )
 PFIZER PHARMACEUTICALS LLC,                      )
 PF PRISM C.V. and PFIZER                         )
 MANUFACTURING HOLDINGS LLC,                      )
                                                  )
                       Plaintiffs,                )
                                                  )
                v.                                )   C.A. No. 16-079 (RGA) (SRF)
                                                  )
 ACCORD HEALTHCARE, INC.,                         )
                                                  )
                       Defendant.                 )

                                STIPULATION OF DISMISSAL

        IT IS HEREBY STIPULATED AND AGREED by and among Pfizer Inc., Wyeth LLC,

 Pfizer Pharmaceuticals LLC, PF Prism C.V., and Pfizer Manufacturing Holdings LLC

 (collectively and severally, “Plaintiffs”) as plaintiffs in Civil Action No. 16-079, and Accord

 Healthcare Inc. (“Defendant”), as defendant, by their attorneys, that

        1.      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), all claims and counterclaims between
                Plaintiffs and Defendant are dismissed without prejudice.

        2.      Any protective orders entered by the Court shall remain in full force and effect
                notwithstanding the dismissal of this action.

        3.      The parties waive any right of appeal from this Order.

        4.      Each party shall bear its own costs and fees in the above-captioned action.

        5.      The U.S. District Court of Delaware retains jurisdiction to enforce and resolve
                any disputes arising under the settlement agreement between Plaintiffs and
                Accord.
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 MORRIS, NICHOLS, ARSHT & TUNNELL LLP              RICHARDS, LAYTON & FINGER, P.A.

 /s/ Maryellen Noreika                             /s/ Kelly E. Farnan

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 Attorneys for Plaintiffs Pfizer Inc., Wyeth LLC, Attorneys for Defendant Accord Healthcare,
 Pfizer Pharmaceuticals LLC, PF PRISM C.V., Inc.
 and Pfizer Manufacturing Holdings LLC

 SO ORDERED, this              day of February, 2017.



        United States District Judge




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